     8:13-cr-00214-JFB-MDN               Doc # 35   Filed: 09/05/13       Page 1 of 3 - Page ID # 56



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                              )
                                                       )
                            Plaintiff,                 )                 8:13CR214
                                                       )
         v.                                            )   ORDER SETTING CASE FOR TRIAL
                                                       )
JAMES BUCHHOLZ and                                     )
IAN LYBARGER,                                          )
                                                       )
                            Defendants.                )


         IT IS ORDERED:

1.       Notice

         •        The above-captioned criminal case is set for trial before the Honorable Joseph F. Bataillon,
                  District Judge, United States District Court, at Omaha, Nebraska, commencing at 8:30 a.m.
                  on September 30, 2013.

         •        The Court will give no further notice other than telephone notice of the date and hour the
                  trial will begin.

2.       Requests for Continuance

         •        Continuances must be requested within one week of this order in written motions
                  accompanied by supporting affidavits.

         •        A copy of any request for continuance must be filed and Magistrate Judge Thomas D.
                  Thalken’s chambers notified.

3.       Pretrial Motions

         •        Counsel must immediately notify the Court of any pretrial motion requiring an evidentiary
                  hearing outside the presence of the jury.

         •        Motions must be written and accompanied by supporting affidavits that conform to the rules
                  of this court.

4.       Change of Plea

         •        Counsel must inform Magistrate Judge Thalken that a defendant has elected to change his
                  or her plea within five days before trial or as soon as practicable.

5.       Delivery of Required Submissions

         •        The government shall file and serve on opposing counsel at least five working days
                  before the first day scheduled for trial, as appropriate, all proposed jury instructions,
                  trial briefs, suggested verdict forms, proposed findings of fact and conclusions of
                  law, and witness lists. The procedure for the submission of exhibits is set forth
                  below.
     8:13-cr-00214-JFB-MDN              Doc # 35        Filed: 09/05/13         Page 2 of 3 - Page ID # 57



         •          The defendant is encouraged also to submit to Judge Bataillon’s chambers at least five
                    working days before trial proposed jury instructions, a trial brief, discovery material to be
                    used at trial, and an exhibit notebook. Any materials so submitted shall not be disclosed to
                    the government unless the defendant specifies otherwise.

         •          A party’s witness list must include the full name and address of each witness whom the
                    party may call to testify at trial.

         •          Parties are encouraged to submit proposed jury instructions on disk.

6.       Exhibits

         •          All exhibits must be pre-marked with stickers that indicate whether the government or the
                    defendant is offering the exhibit.

         •          The government’s exhibits shall begin with the number “1” and shall be numbered
                    consecutively. If the government’s last exhibit is a two-digit number (e.g., “34”), the
                    defendant’s first exhibit number shall be “100.” If the government’s last exhibit number is
                    a three-digit number, the defendant’s first exhibit number shall be a three-digit number
                    rounded up to the next hundred. Thus, if the government’s last exhibit number is “134,” the
                    defendant’s first exhibit number would be “200.”

         •          Exhibits must be listed before trial on exhibit forms available from the Clerk’s office or on our
                    web page at www.ned.uscourts.gov (Forms).

         •          The courtroom deputy will take custody of the exhibits after they are received by the court.

         •          Parties must deliver to Judge Bataillon’s chambers at least five working days before the
                    first day scheduled for trial copies of all exhibits in a three-ring binder organized for use by
                    dividers or tabs.

7.       Discovery Material Used as Evidence at Trial

         •          If a party will use a deposition at trial, the proponent must supply the Court with a copy of
                    the deposition. If less than the whole deposition will be used, the copy must highlight the
                    portions to be introduced. The proponent must also supply the Court with a list or index
                    identifying by page and line the portions to be introduced. If a party objects to the
                    introduction of deposition testimony, that party must supply the Court with a list specifying
                    the precise nature of each objection and identifying its location by page and line.

         •          If a party intends to use testimony in a videotaped deposition and the opponent objects to
                    any portion of it, the proponent must supply the Court with a transcript of the testimony from
                    the deposition. The transcript must highlight the portions of the testimony to be introduced.
                    The proponent must also supply the Court with a list or index identifying by page and line
                    in the transcript the portions to be introduced. If a party objects to the introduction of
                    videotaped deposition testimony, that party must supply the Court with a list specifying the
                    precise nature of each objection and identifying its location in the transcript by page and
                    line.

8.       Conduct of Trial

         •          Judge Bataillon will meet with counsel at 8:30 a.m. in the courtroom on the first day of trial.

         •          Each day of trial will begin at 9:00 a.m. unless Judge Bataillon directs otherwise.


                                                           2
     8:13-cr-00214-JFB-MDN           Doc # 35       Filed: 09/05/13        Page 3 of 3 - Page ID # 58



         •       Questioning of witnesses will be limited to direct examination, cross examination, and
                 redirect examination unless Judge Bataillon allows further examination.

9.       Voir Dire

         •       Judge Bataillon will conduct an initial general voir dire of the prospective panel.

         •       Counsel will be allowed to conduct follow-up voir dire in areas not covered by the Court’s
                 examination or in an area which may justify further examination in view of a prospective
                 juror’s response during the Court’s voir dire.

10.      Witnesses

         •       Witnesses who do not appear to testify when scheduled will be considered withdrawn. The
                 trial will then proceed with the presentation of any remaining evidence.

11.      Equipment Available

         •       Evidence Presentation System - Document camera, VCR, DVD, computer and
                 sound inputs, illustrator, printer. Composite Video / S-Video / Audio / Computer
                 inputs at rear counsel tables. Video at counsel tables or from Evidence
                 Presentation cart will display on judge monitor, courtroom deputy monitor, witness
                 monitor, monitors on counsel tables, and monitors located in the jury box. Please
                 notify the courtroom deputy prior to trial if you plan to use the system and schedule
                 a time for training, if needed. A virtual tour of Judge Bataillon’s courtroom is
                 available at www.ned.uscourts.gov (Court Technology).
         •       Audio in / audio out connections under courtroom deputy bench. Requires RCA
                 type connectors or 1/4" phono type connectors.
         •       Telephone system tied to sound system.
         •       2 channel infrared transmitter - one channel for hearing impaired purposes, the
                 other for second language (if interpreter is being used).
         •       Realtime - contact the court reporter for more information.
         •       Easel


12.      Interpreters

         •       Counsel shall notify the courtroom deputy at least a week in advance if the services of an
                 interpreter will be required for a hearing or for trial.

        This order supersedes any local rule of court or any order on final pretrial conference entered in
these actions.

         Dated this 5th day of September, 2013.
                                                           BY THE COURT:
                                                           s/ Thomas D. Thalken

                                                           United States Magistrate Judge




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